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Exhibit F

Karnati Interrogation Official Transcript
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In the Matter Of:

TRANSCRIPTION OF:

POST ARREST INTERVIEW
January 30, 2019

Prepared for you by

% US. Legal

Support

Bingham Farms/Southfield_* Grand Rapids
Ann Arbor ¢ Detroit « Flint * Jackson » Lansing * Mt. Clemens ° Saginaw ° ‘Troy
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Page 1 Page 3
1 1 MR. KARNATI: Okay, sir.
2 2 DETECTIVE GOUREY: Right now we want to sit
3 3. and have a conversation with you.
A 4 MR. KARNATI: Okay.
5 Vosk Beresh interview 5 DETECTIVE GOUREY: Before we sit down and
& a 6 talk, you have rights. Okay. You have constitutional
7 7 xvights. I'm going to explain to you what your rights
g 8 are and we're going to go from there.
2 9 You can read and write English really good?
#8 10 MR. KARNATI: Yeah.
ll Transcribed by Renee J. Ogden, CSR-3455, RPR. 11 DETECTIVE GOUREY: Okay. Great. So I have
R 12 these state -- like basically we have a few sentences
3 13 here I'm going to read. Do you want me to read it to
14 14 you while you read along or do you want to read them?
me 15 MR. KARNATI: Yeah, I can read them.
t6 16 DETECTIVE GOUREY: Why don't you read them
uu 17 ~— out: loud.
18 18 MR. KARNATI: Before we ask you any
19 questions, it is my duty to advise you of your rights.
a0 20 You may have right to remain silent.
at 21 DETECTIVE GOUREY: All right. Hang on. Do
22 22 you understand that?
23 23 MR. KARNATI: Yes.
a8 24 DETECTIVE GOUREY: Go ahead, Read the next
35 25 line.
Page 2 Page 4
1 DETECTIVE GOUREY: Okay. We have to record | 1 MR. KARNATI: Anything you say can be used
2 our interviews. Okay. “So we're going to record the 2 against you in a court of law or other proceedings.
3 interview. Don't -- I mean, it's just so -- so it's 3 DETECTIVE GOUREY: Okay. Do you understand
4 all on tape for me -- you know, they can come back and | 4 that?
5 say, you know, as a police officer, you're good or 5 MR. KARNATI: Anything you say can be used
6 whatever. 6 against you in a court of law.
7 MR. KARNATI: Yeah. 7 DETECTIVE GOUREY: Okay.
8 DETECTIVE GOUREY: Okay. All right. 8 MR. KARNATI: You have the right to consult
9 Mr. Karnati, right? 9 any attorney before making any statement or answering
10 MR. KARNATI: Right. 10 any question.
11 DETECTIVE GOUREY: Karnati is how I can say | 11 DETECTIVE GOUREY: Okay. Do you understand
12 your last name? 12. ‘that?
13 MR. KARNATI: That is last name. 13 MR. KARNATI: Yes.
14 DETECTIVE GOUREY: Oh, Karnati is your last | 14 You have a right to have an attorney
15 name? 15 present with you during the questioning.
16 MR. KARNATI: Yeah, yeah, yeah. 16 DETECTIVE GOUREY: Okay. Do you understand
17 DETECTIVE GOUREY: How do you say your 17 ‘that?
18 first name? 18 MR. KARNATI: Yeah.
19 MR, KARNATI: Phanideep. 19 DETECTIVE GOUREY: Okay.
20 DETECTIVE GOUREY: Mr. Karnati, my name is | 20 MR. KARNATI: If you cannot afford an
21 Dan Gourey, Special Agent Dan Gourey. This is special |21 attorney, one will be appointed for you before any
22 agent Josh Edwards. Okay. Today you are under arrest | 22 questioning if you wish.
23 for visa fraud. Okay. I'm going to explain to you 23 DETECTIVE GOUREY: Okay. Do you understand
24 everything and we're going to go over everything. 24 = that?
25 Okay? 25 MR. KARNATI: Yes, sir.
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1 DETECTIVE GOUREY: Okay. il DETECTIVE GOUREY: Yeah, I mean, if you
2 MR. KARNATI: If you decide to answer the 2 need to make a call to an attorney, if you have an
3 question now, you still have a right to stop the 3 attorney that you have and you need to make that call,
4 questioning at any time (Inaudible). You have aright | 4 yeah, we'll definitely make that happen.
5 to stop the questioning for the purpose of consulting 5 MR. KARNATI: Okay.
6 an attorney. 6 DETECTIVE GOUREY: All right. So we had,
7 DETECTIVE GOUREY: Do you understand that? 7 like, the first part of the question, you know, your
8 MR. KARNATI: Yeah. 8 first name is Phanideep Karnati, correct?
9 DETECTIVE GOUREY: Okay. So basically we 9 MR. KARNATI: Correct.
10 ust want to have a conversation with you. There's 10 DETECTIVE GOUREY: All right. You're a
11 some things that I want to know from you. There's 11 citizen of --
12 some things that I'm sure you want to know from me. 12 MR. KARNATI: India.
13 We want to sit and have this conversation. 13 DETECTIVE GOUREY: India. Your home
14 MR. KARNATI: Yeah, 14 address is the one we talked about earlier on --
15 DETECTIVE GOUREY: But before we have this | 15 MR. KARNATI: 10808 Symington, sir.
16 conversation, you have to acknowledge that you 16 DETECTIVE GOUREY: In Louisville?
17 understand these and you want to talk right now 17 MR. KARNATI: Yes.
18 without an attorney. You always have that right. You | 18 DETECTIVE GOUREY: How long have you been
19 always have the right to stop -- 19 at that address?
20 MR. KARNATI: Yeah. 20 MR. KARNATI: ‘Iwo years. I bought that
21 DETECTIVE GOUREY: -- talking. You always | 21 home two years back.
22 have the right to an attorney -- whatever you want. 22 DETECTIVE GOUREY: So it's a home?
23 Just because you do this now doesn't mean -- 23 MR. KARNATI;: Yes, it's a home.
24 MR. KARNATI: Yeah. 24 DETECTIVE GOUREY: Okay. And you are
25 DETECTIVE GOUREY: -- you lose your rights |25 married?
Page 6 Page 8
1 or anything. You always have these rights. 1 MR. KARNATI: Yeah.
2 MR. KARNATI: Okay. 2 DETECTIVE GOUREY: To, you said, Ramya?
3 DETECTIVE GOUREY: Okay. Do you want to 3 MR, KARNATI: Yeah.
4 talk to us right now? Do you want to sit and have a 4 DETECTIVE GOUREY: Okay. All right. Did
5 conversation? 5 you come to the United States as an F-1 student?
6 MR. KARNATI: We can -- I mean, at least to | 6 MR. KARNATI: No, sir.
7 start with I can have a conversation. 7 DETECTIVE GOUREY: How did you come to the
8 DETECTIVE GOUREY: Okay. Yeah, definitely. | 8 United States?
9 Okay. So go ahead -- read here, make sure I have —- 9 MR. KARNATT; H-1.
10 vead it out loud and I want you to print your name, 10 DETECTIVE GOUREY: H-1?
11 sign your name and date for me and we're going to ll MR. KARNATI: Yeah, work visa.
12 start -- we're going to go over everything with you. 12 DETECTIVE GOUREY: H-15?
13 MR. KARNATI: Sure. 13 MR. KARNATI: Yeah.
14 Thank you so much for making me so 14 DETECTIVE GOUREY: When did you first come
15 comfortable. 15 to the United States as an H-1B?
16 DETECTIVE GOUREY: No problem. No problem, | 16 MR. KARNATI: I came to the United States
17 MR, KARNATI: I'm still trying to see what | 17 in 2011, January 9th.
18 mistake I did. Best of my knowledge -- 18 DETECTIVE GOUREY: Did you go to any
19 don't(Inaudible). 19 schools or anything like that?
20 DETECTIVE GOUREY: We'll go over everything | 20 MR. KARNATI: I'm going to school now, sir,
21. with you here. 21. but not as an F-1 -- to study, actually to study. 50
22 MR, KARNATI: Sure, sir. 22 I'm going to evening classes every Tuesday, Wednesday,
23 DETECTIVE GOUREY: All right. 23 and Thursday to the University of Louisville. I'm
24 MR. KARNATI: If I want to take an 24 working, I'm going to school.
25 attorney, can I make any call or something? 25 DETECTIVE GOUREY: And you're still on the
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1 #H-1B? 1 DETECTIVE GOUREY: Santosh?
2 MR. KARNATI: Yes, sir. It's valid until 2 MR. KARNATI: Yeah.
3. 2020. 3 DETECTIVE GOUREY: Was Santosh -- so you
4 DETECTIVE GOUREY: Did you go to a 4 were coming to meet Santosh?
5 consulate to obtain your H-1B visa? 5 MR. KARNATI: Santosh, yes, sir.
6 MR. KARNATI: Yes, sir, I went to 6 DETECTIVE GOUREY: How do you know Santosh?
7 (Inaudible) H-1B visa? 7 MR. KARNATI: I know him right from the
8 DETECTIVE GOUREY: Go ahead. Write that 8 beginning like through the common friend. It has been
9 down for me. Which consulate did you go to? Just 9 a long time.
10 write it down for me. 10 DETECTIVE GOUREY: So it's been a long
li MR. KARNATI: (Inaudible) consulate. It's |11 time? How long do you think?
12 the consulate in (Inaudible) it's consulate in -- that | 12 MR. KARNATI: It's just probably two years.
13 is in 2011. 13 DETECTIVE GOUREY: So about two years
14 DETECTIVE GOUREY: All right. 14 you've known him?
15 MR. KARNATI: 2010, end of 2010. 15 MR. KARNATI: Yeah.
16 DETECTIVE GOUREY: Okay. In 2010. Okay. 16 DETECTIVE GOUREY: Okay. And what's --
17 MR. KARNATI: End of 2010 and into 2011. 17. what were you guys going to talk about when you came
18 DETECTIVE GOUREY: Okay. I'll write it 18 here?
19 down. 19 MR. KARNATI: For my wife's admission is
20 All right. In order to maintain your 20 one of the main agendas. I want to talk about and I
21 status, you have to work in a specific -- do you have |21 want to see how the university is and if I can get
22 to work in a specific field or what do you have to do? |22 really the subjects. Those were the things. He told
23 MR. KARNATI: Yes, I have to work in an IT | 23 me he could meet with -- I don't know his name, the
24 job, like, so that's what I am doing. 24 director or something like that. So that it's -- when
25 DETECTIVE GOUREY: Okay. What brings you 25 I did some research, we found that this is some
; Page 10 Page 12
1 to Michigan? 1 cheaper university because I can't pay for everything
2 MR. KARNATI: $0 here I have a friend, so 2 at the same time because I'm also going to school.
3. actually I'm just looking for my wife's admission 3 I'm looking for some university which fees are
4 also. So here there is a university called Farmington | 4 reasonable.
5 University out of Farmington. One of my friends who 5 DETECTIVE GOUREY: So you came to talk to
6 is doing master's. 6 him about your wife's admission to the University of
7 DETECTIVE GOUREY: Okay. I'm sorry. Go 7 Farmington? .
8 ahead and speak up a little bit louder. I'm having a 8 MR. KARNATI: Yeah.
9 hard time hearing you. I have a bad ear. 9 DETECTIVE GOUREY: Okay. Are you going to
10 MR. KARNATI: Okay. All right. Actually, | 10 go visit the university?
11 I'm just planning to get my wife to do some master's 11 MR, KARNATI: Yes, sir.
12. ‘here. 12 DETECTIVE GOUREY: Have you ever been there
13 DETECTIVE GOUREY: So you're planning on 13. before?
14 bringing your wife here for school? 14 MR, KARNATI: No, no, not before, sir.
15 MR, KARNATI: For school. 15 DETECTIVE GOUREY: You've never been there
16 DETECTIVE GOUREY: Okay. How come your 16 before?
17 wife didn't come then if she's planning on going to 17 MR, KARNATI: No.
18 school? 18 DETECTIVE GOUREY: Okay. When did --
19 MR. KARNATI: No, it is not. She's going 19 you've never been inside there before? You have never
20 to goto school. There is a university. I just 20 been inside their building or anything like that?
21. wanted -- there is a friend who did master's here. So | 21 MR. KARNATI: No, sir.
22 I just thought of talking to him. I know him, friends | 22 DETECTIVE GOUREY: How did you find out
23 for atime. I thought of talking to him and -- 23 about the University of Farmington?
24 DETECTIVE GOUREY: What's his name? 24 MR. KARNATI: I did Google and I also asked
25 MR. KARNATI: Santosh. 25 a couple of friends.

 

 

 

 

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1 DETECTIVE GOUREY: How many friends 1 DETECTIVE GOUREY: IPhone what?
2 recommended it to you? 2 MR. KARNATI: IPhone 10.
3 MR. KARNATI: One or two friends. 3 DETECTIVE GOUREY: IPhone 10?
4 DETECTIVE GOUREY: What were their names? 4 MR. KARNATI: Yeah.
5 MR. KARNATI: One is Santosh and I mean, 5 DETECTIVE GOUREY: All right. What kind of
6 exactly two friends. Normally like I was looking for 6 computer is it?
7 admission. 7 MR. KARNATI: MacBook.
8 DETECTIVE GOUREY: What's Santosh's first 8 DETECTIVE GOUREY: MacBook Pro?
9 name? 9 MR. KARNATI: Yeah.
10 MR. KARNATI: I don't know exactly. I 10 DETECTIVE GOUREY: What's your password to
11 think it is Samma or something like that. 11 get on your iPhone X?
12 DETECTIVE GOUREY: Samma or Samar? 12 MR. KARNATI: 060505.
13 MR. KARNATI: I think it is Samar probably. | 13 DETECTIVE GOUREY: 060505.
14 DETECTIVE GOUREY: Samar? Okay. ALL 14 What's the password to get on to your
15 right. Who else do you know that went to the 15 MacBook? You want to write it down for me? Write it
16 University of Farmington? 16 down under MacBook Pro. If it's capital just make it
17 MR. KARNATI: Not many people, sir. I 17 big, if it's lower case, just make it small.
18 mean, I'm not much with that University of Farmington | 18 MR. KARNATI: We do share the password
19 because I live in Louisville. So I only know Samar. 19 (Inaudible).
20 DETECTIVE GOUREY: Okay. Do you mind if we | 20 DETECTIVE GOUREY: It's up to you. I mean,
21 take a look at your phone? 21 this is up to you. I mean, we're asking to -- we're
22 MR. KARNATI: Sure. 22 asking you. Can we look at your computer? Can we
23 DETECTIVE GOUREY: Do you have a computer 23 look at your phone? If you let us look at your
24 with you as well? , 24 computer, we need the password in order to get on it.
25 MR. KARNATI: Yes. 25 He is a computer forensic, Josh Edwards is a computer
Page 14 Page 16
1 DETECTIVE GOUREY: All right. How do you 1 forensic guy. He explain it probably further.
2 spell your last name? Here I have got it. Is this 2 SPECIAL AGENT EDWARDS: ‘This is your chance
3 how you spell your first name? 3. to show how cooperative you are, that you're a good
4 MR. KARNATI: Yes. 4 person, and you have nothing to hide. If you give us
5 DETECTIVE GOUREY: And that's how you spell | 5 the password, we can take a look and be done with it.
6 your last name, huh? Okay. 6 MR. KARNATI: Yeah. It is my son's name.
7 MR. KARNATI: Can you just give me some 7 (Inaudible) like Visa, but I never did any Visa fraud
8 idea like why, I guess? 8 or something like that, sir.
9 DETECTIVE GOUREY: Yes, yeah. Are you the 9 DETECTIVE GOUREY: Okay. We'll get into
10 owner of -- what do you have a computer? You have a 10 it. So why --
11 computer with you as well? 11 MR. KARNATI: It's a V.
12 MR. KARNATI: Yes, sir. 12 DETECTIVE GOUREY: Oh, that's V. So V is
13 DETECTIVE GOUREY: Can we look at that too? |13 capitalized?
14 MR. KARNATI: Sure, sir. 14 ‘MR, KARNATI: No, it's small.
15 DETECTIVE GOUREY: Computer and a phone. 15 DETECTIVE GOUREY: V is small?
16 any electronic media, any other thumb drives or 16 MR. KARNATI: Yeah.
17. anything like that? 17 DETECTIVE GOUREY: And then E like echo?
18 MR. KARNATI: No. 18 MR. KARNATI: E like echo,
19 DETECTIVE GOUREY: All right. Do you 19 DETECTIVE GOUREY: E like echo. Is that
20 understand the English very well? I know I have asked | 20 another E like echo?
21 you that before, correct? 21 MR. KARNATI: Yeah. V, K, H, 5.
22 MR. KARNATI: Yeah. 22 DETECTIVE GOUREY: And then that's a U?
23 DETECTIVE GOUREY: Yep? Okay. 23 MR. KARNATI: KHS.
24 Let's see, what kind of phone is it? 24 DETECTIVE GOUREY: ‘This is a K?
25 MR. KARNATI: IPhone. 25 MR. KARNATI: K, yeah.

 

 

 

 

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1 DETECTIVE GOUREY: So v-e-e-k, and that's 1 MR. KARNATI: If you need some admission, I

2 an s-h? 2 know that there is a University of Farmington from

3 MR. KARNATT: §-h, yeah. 3. Santosh. I got to know that.

4 DETECTIVE GOUREY: And then 060505? 4 DETECTIVE GOUREY: Okay.

5 MR. KARNATI: Yeah. 5 MR. KARNATT: And so I also helped them to

6 DETECTIVE GOUREY: So basically if you want | 6 get that admission into Farmington.

7 to read this, you're asked to consent -- or to give 7 DETECTIVE GOUREY: Okay. We'll get into

8 consent for the search of your computer, electronic § that here. We'll talk a little bit more about it.

9 media, you give ICE consent to look at your HSI, 9 Why don't we finish this up? If you want
10 consent to look -- do a complete search of your 10 to do -- if you want to give us permission to look at
11 electronic media. If you want to go ahead and just 11 it, go ahead and read it over and then sign and date.
12 read it over, and if you want to give us consent, if 12 Once we get through this, then we'll get a little bit
13 you just print your name and then sign and date here 13. more into that.

14 for consent to look at the electronic media. 14 MR. KARNATT: Yeah. I don't know anyone
15 MR. KARNATI: I just want to tell you one 15 here who is scheduled.
16 more thing. 16 DETECTIVE GOUREY: You don't know anything
17 DETECTIVE GOUREY: Yeah. 17. other than Santosh?
18 MR. KARNATI: So, in addition to that, I 18 MR. KARNATI: Other than Santosh, yeah.
19 also just thought of (Inaudible) admission process 19 DETECTIVE GOUREY: That's okay. We'll talk
20 because of the Farmington, they need any students, I 20 about that. We'll talk about that.
21 just tried to help them get admissions. 21 MR. KARNATI: Even if I want to get some
22s ~ DETECTIVE GOUREY: And we'll get into that |22 attorney, I don't know anyone here to --
23 here in a second. 23 DETECTIVE GOUREY: Okay. Again, we'll --
24 MR. KARNATI: So that is one more thing I 24 we can -- you know, at any time --
25 want to -- 25 MR. KARNATI: Yeah.

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1 DETECTIVE GOUREY: Yeah. We're going to go | 1 DETECTIVE GOUREY: And if you -- once you

2 over that. We're going to -- we're going to get a 2 put the date, 2019 -- 2019. Once you put the date,

3. little more in depth here. 3. this is a signature line here too. It's a date and

4 MR. KARNATI: So it's not that -- 4 signature Line.

5 (Inaudible) like my wife there, there might be some 5 MR. KARNATI: Okay.

6 people who are looking for admission. 6 DETECTIVE GOUREY: Okay, just sign again.

7 DETECTIVE GOUREY: Yeah. 7 It's fine.

8 MR, KARNATI: So I guess I just this 8 MR. KARNATI: Okay. So ==

9 university's (Inaudible) it's a university where you 9 DETECTIVE GOUREY: Okay. So you are not
10 can -- so that -- 10 enrolled at Farmington?

11 DETECTIVE GOUREY: I'm sorry. You have got | 11 MR. KARNATI: No, sir. I never am enrolled
12 to speak up. 12 at Farmington.

13 MR. KARNATT: Yeah. (Inaudible) him 13 DETECTIVE GOUREY: Okay. But you know --
14 probably, if you tell your situation like I may need 14 when we were just talking here, you said that you

15 to -- I'm working say, for example, I am working, I 15 referred a few people over to -- you referred some

16 need some small university, they don't charge much 16 people to Farmington?

17 fees. 17 MR. KARNATI: Yes, yes.

18 DETECTIVE GOUREY: Okay. 18 DETECTIVE GOUREY: How many people did you
19 MR. KARNATI: And I need admission so I 19 refer?

20 will (Inaudible) Farmington. 20 MR. KARNATI: Probably -- refer in the

21 DETECTIVE GOUREY: Okay. So are you -- 21 sense of I just -- like five to ten people probably

22 you're currently enrolled at Farmington? 22 from (Inaudible).

23 MR. KARNATI: No, not me. I'm just telling | 23 DETECTIVE GOUREY: Five to ten people?

24 you if you want -- 24 MR. KARNATI; Little more. They might have
25 DETECTIVE GOUREY: If I need -- 25 referred others.

 

 

 

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1 DETECTIVE GOUREY: Okay. All right. So 1 DETECTIVE GOUREY: A little bit more than
2 you know, in order for us to, like, put you under 2 $200?

3. arrest and arrest you at the airport and do all this, 3 MR. KARNATI: $200, yeah.

4 like, we have to get a warrant signed. 4 DETECTIVE GOUREY: So $200 per referral?

5 MR. KARNATI: Okay. 5 MR. KARNATI: $200 per referral, yeah.

6 DETECTIVE GOUREY: So what I need to do is 6 DETECTIVE GOUREY: Okay. All right. So

7 I need to go to a judge and I need to explain to a 7 30, about 30 or more people and $200 per person that

8 judge, he needs to be under arrest. 8 you received. Who paid you, Santosh? Or did the
9 MR. KARNATI: Oh. 9 university pay you?

10 DETECTIVE GOUREY: And the judge says, 10 MR, KARNATI: I mean, I took from Santosh.
11 well, what did this guy do wrong? Okay. It has to be | 11 DETECTIVE GOUREY: Okay.
12 something serious. 12 MR. KARNATI: I took from Santosh. I
13 MR. KARNATI: Okay. 13) mean --
14 DETECTIVE GOUREY: If somebody is not doing | 14 DETECTIVE GOUREY: Did he pay you cash?
15 something seriously wrong, they're not going to give 15 MR. KARNATI: Yeah, just -- I told him
16 us permission to arrest you. 16 ~cash.
7 MR. KARNATI: Okay. 17 DETECTIVE GOUREY: §o he paid you a lump
18 DETECTIVE GOUREY: And these are smart 18 sum of $5,000? So he paid you $5,000 cash in one
19 people. These judges are very smart people. They're | 19 time?
20 appointed by the president, President Obama, President | 20 MR. KARNATI: ‘That is only long (Inaudible)
21 Trump. You know, they're appointed by the president 21 after that, I never did that one again.
22 and they're very smart. They're not going to allow 22 DETECTIVE GOUREY: Okay. Okay. So when
23 somebody like me to arrest somebody without proving to |23 did he pay you the $5,000 cash?
24 them some very serious allegations. 24 MR. KARNATI: I don't exactly remember,
25 MR. KARNATI: Okay. 25 sir.
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1 DETECTIVE GOUREY: So when I ask you a lot if DETECTIVE GOUREY: What year?

2 of times, like I know -- I kind of know the answer 2 MR. KARNATI: 2018.

3 already. 3 DETECTIVE GOUREY: 2018. Okay. And that
4 MR. KARNATI: Okay. 4 was -- for how many people was the $5,000 for?

5 DETECTIVE GOUREY: So if I ask you how many | 5 MR. KARNATI: Close to 30.

6 people did you refer to the university, give me a 6 DETECTIVE GOUREY: Okay. Have you

7 better number than five to ten people because I think 7 yveferred -- when was the last time -- when was the

8 you know -- 8 last time you referred somebody to Santosh?

9 MR. KARNATI: Okay. 9 MR. KARNATI: It has been, I think, 2018.
10 DETECTIVE GOUREY: -- I think you know 10 Until January. I think in January. After that time I
11 better how many you referred. 11 never referred anything like that.

12 MR. KARNATI: Probably 30 or so people. 12 DETECTIVE GOUREY: So why did you refer

13 DETECTIVE GOUREY: 30? 30 or more? 13 students to Farmington?

14 MR. KARNATI: Yeah, a little bit, around 14 MR. KARNATI: Basically, it’s not all about
1530. 15 that money, even if they didn't tell they'll pay that
16 DETECTIVE GOUREY: Okay. Why did you refer |16 money, but just as a friend when they reach me, like,
17 ‘these people? 17 is there anything, you know, (Inaudible) I just took
18 MR. KARNATI: ‘The basic thing is, like, 18 them. Like after some days (Inaudible) they, but it's
19 like how they -- they are for some money for 19 not that they wanted to give me the money all the time
20 referring. 20 or something like that. It's not any -- like you, I
21 DETECTIVE GOUREY: How much did you get 21  xvefer you, you pay me or something. It's not like

22 paid per referral? 22 ~=~‘that.

23 MR. KARNATI: $200. 23 DETECTIVE GOUREY: Okay.

24 DETECTIVE GOUREY: $200 or more? 24 MR. KARNATI: Okay. Initially like when

25 MR. KARNATI: (Inaudible) $200. 25 the people reach and I know that there is a
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1 university -- 1 MR. KARNATI: Monday.
2 DETECTIVE GOUREY: Okay. 2 DETECTIVE GOUREY: From 6:00 to 9:30?
3 MR. KARNATI: So when the people was really | 3 MR, KARNATI: Monday -- no, Monday and
4 looking for some help, I started referring them. So 4 ‘fhursday, did I say Monday to Thursday?
5 (inaudible) like I referred someone and he has his 5 DETECTIVE GOUREY: Mondays --
6 friend in the same problem. 6 MR. KARNATI: It is Tuesday, Wednesday,
7 DETECTIVE GOUREY: Okay. 7 Thursday.
8 MR. KARNATI: So I'll start reaching to a 8 DETECTIVE GOUREY: It's Tuesday --
9 certain point like you -- and Santosh told that, you 9 MR. KARNATI: Wednesday and Thursday.
10 know, you may still need some small amount for that 10 DETECTIVE GOUREY: Wednesday and Thursday.
11 one. 11 MR. KARNATI: So Tuesday I have the
12 DETECTIVE GOUREY: Okay. 12 Analytics 2 and Thursday I have the Analytics 2, and
13 MR. KARNATI: So other than that one -- 13 Wednesday I have Marketing Analytics.
14 it's not like I did it for profit or something. 14 DETECTIVE GOUREY: ‘Two classes?
15 DETECTIVE GOUREY: Okay. So you didn't do | 15 MR. KARNATI: ‘Two classes. Two different
16 it for profit? 16 professors. So the one I completed is (Inaudible) and
17 MR. KARNATI: No, I mean -- 17 (Inaudible) linear (Inaudible) because we have linear
18 (Break in recording) 18 (Inaudible). We have to understand those analytics.
19 MR. KARNATI: Not for -- it's a corporate 19 We need linear (Inaudible). And Data Analytics 1.
20 program, sir. We do -- it's a corporate program 20 ‘hat is the first semester and storytelling with the
21. (Inaudible) assignments. We do group work, project 21 data.
22 work and for -- it's a business analytics, data 22 DETECTIVE GOUREY: Pretty easy?
23 analytics class, master of science in business 23 MR. KARNATI: No, it is a little complex.
24 analytics. I have to (Inaudible) almost the final 24 DETECTIVE GOUREY: Little complex?
25 exam and there is a paper also that I need to -- I 25 MR. KARNATI: It is a little complex. We
Page 26 Page 28
1 think for not -+ it depends on the professor. Not all | 1 are now into the core side of that one.
2 professors asked for a final paper. There is a paper 2 DETECTIVE GOUREY: Okay. All right. So I
3 also I'm going to do. So there is a paper I need to 3 want to go back to your wife applying -- she wanted to
4 submit to. 4 go to the University of Farmington?
5 DETECTIVE GOUREY: How many pages? 5 MR. KARNATI: Yeah.
6 MR. KARNATI: He told us eight pages should | 6 DETECTIVE GOUREY: She didn't have to take
7 be fine. 7 the English test or the GMAT test to get into the
8 DETECTIVE GOUREY: Eight pages? 8 University of Farmington?
9 MR. KARNATI: Eight pages. 9 MR. KARNATI: Yes.
10 DETECTIVE GOUREY: That's a short paper? 10 DETECTIVE GOUREY: Okay. Was that a big
il MR. KARNATI: It's a short paper. It's not |11 factor in why you chose the University of Farmington?
12 -= we have to obtain the data from the Auto Trader or | 12 MR. KARNATI: Yeah, yes, and the fee also.
13 realtor.com and we have to do some analytics on that 13 DETECTIVE GOUREY: Yeah, and the fees. So
14 one, Like this, the data analytics and the business 14 why did they -- why did they not -- why did they not
15 analytics are coming up recently. So, like, you have | 15 require a language test or anything like that?
16 to compare one factor with all the other factors. So | 16 MR. KARNATI: 1°11 tell you.
17 the (Inaudible) testing and we have to do and we have | 17 DETECTIVE GOUREY: Did they offer classes
18 to —- again, (Inaudible) not that you have to do, we 18 in foreign lanquages?
19 have a team of five people. 19 MR. KARNATI: No. How I'm thinking is like
20 DETECTIVE GOUREY: You submit one paper for |20 for under graduation, how it happens is if from India,
21 the whole team? 21 a couple of people studies in native lanquage to some
22 MR, KARNATI: One paper for the whole team. | 22 extent. But under graduation law it's been in
23. One paper and one presentation. 23 English. So I mean, basically the English test is to
24 DETECTIVE GOUREY: So it's Mondays and 24 see that they understand the process. Like the
25 Thursdays? 25 process you have to understand. So that is the

 

 

 

 

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1  yreason. But when your under graduation is in English. | 1 test is entirely different. Even for me, I am good in
2 So they -- I mean, we know how to speak English even 2 English, but when I'm ready to take GMAT, say, for
3. from India. So concerning that one taking, some 3 example, GMAT, it's hard to get a (Inaudible)
4 wniversities may give you an exception. So that's the | 4 preparation, you have to prepare dedicatedly. Test is
5 reason. (Inaudible) I think they are giving 5 different and understanding -- of course it's
6 exceptions. 6 important that (Inaudible) but you have to prepare for
ie DETECTIVE GOUREY: So is there -- so she -- | 7 anything, any test. You have to study very well. You
8 she doesn't have to take the English test. You just @ have to attend some classes.
9 gaid the reason they make you take the English test is | 9 DETECTIVE GOUREY: Okay.
10 because they teach in English in the United States, 10 MR. KARNATI: And take the test. For my
11 right? 11 wife, even she did good on -- in the under graduation
12 MR. KARNATI: ‘They think that in India, 12 English, for her to prepare for the test, like, I --
13 sometimes they think in India, they don't understand 13 as I told, I have two kids. I got myself busy with my
14 English because they think under graduation you will 14 master's. So she could not -- she could not prepare
15 also be done in some other language, their native 15 that. So obviously I just thought what is a better
16 language. But in India it is not the case. 16 way to get in there (Inaudible).
17 Some universities consider that under 17 DETECTIVE GOUREY: So what -- what -- how
18 graduation is an art, not in your native language. It | 18 is she going to get her master's degree if -- so you
19 is in English. 19 said that -- you said that the -- another reason was
20 I know that you understand English very 20 you go to the University of Louisville. When you go
21 well because you studied big books in English for four | 21 to the University of Louisville, you have a schedule
22 years, right, so you're good to —- you expect that 22 and --
23 we'll understand your language also. So that is the 23 MR. KARNATI: Yes.
24 xreason. 24 DETECTIVE GOUREY: -- specific classes that
25 DETECTIVE GOUREY: Okay. So I understand 25 you're taking and stuff like that. Are you currently
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1 that. Then -- so you're saying that the universities 1 inclass right now?
2 in India do -- basically their curriculum is in 2 MR. KARNATI: Yes.
3. English? 3 DETECTIVE GOUREY: Okay. What's -- what's
4 MR. KARNATI: English, yes. 4 the name of, like, two classes that you're taking this
5 DETECTIVE GOUREY: So I'm asking you: Did 5 semester?
6 she take English? Did she do curriculum in English? 6 MR. KARNATI: Data Analytics 2 and
7 MR. KARNATI: Yes. In English means, her 7 Marketing Analytics,
8 under graduation is in English. Everybody's under g DETECTIVE GOUREY: So data analytics and
9 graduation is in English only. She's an engineer. 9 Marketing Analytics, that's what you're taking right
10 DETECTIVE GOUREY: Okay. 10 now?
11 MR. KARNATI: She's an electronics ll MR. KARNATI: Yes.
12 engineer. So it is all in English only. 12 DETECTIVE GOUREY: Okay. So she's going to
13 DETECTIVE GOUREY: Does she work? 13. enroll at the University of Farmington. Do you go
14 MR. KARNATI: No, she's not working. 14 into school. or do you take them online?
15 DETECTIVE GOUREY: She's not working. 15 MR. KARNATI: We take them online. Even
16 Okay. So she's not working right now. But you said 16 (Inaudible) online.
17 that -~ that part of reason that she applied for 17 DETECTIVE GOUREY: So you conference in
18 Farmington was because they didn't take -- make you 18 online for lectures and for maybe chats and stuff like
19 take an English test. But if she speaks good English |19 that for the analytics, for both analytic classes that
20 from India and she went and did her undergrad in 20 you're taking?
21 English, why would she have a problem with the test? 21 MR. KARNATI: You're talking about me?
22 Would she have a problem with the -- with the test? 22 DETECTIVE GOUREY: I'm talking about you.
23 MR. KARNATI: Again, I mean, I -- I -- I 23 MR. KARNATI: Oh, I go to classes.
24 know where you're coming from. I'l] try to -- there 24 DETECTIVE GOUREY: You go into the class?
PP are two things, sir. Understanding English and taking | 25 MR. KARNATI: I go into classes.

 

 

 

 

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1 DETECTIVE GOUREY: So but your wife is now 1 have to think about them. But with this one, you had
2 going to be -- not going to be going to the 2 to think about it.
3. University -- she's not going ta like go -- her body 3 MR. KARNATI: (Inaudible).
4 ig not going to be at the University of Farmington, 4 DETECTIVE GOUREY: So again -- again, so
5 right? 5 this is why I'm being -- like, I just want you to be
6 MR. KARNATI: Right. 6 totally honest with me.
7 DETECTIVE GOUREY: So how is she going to 7 MR. KARNATI: Yeah.
8 receive her classes? 8 DETECTIVE GOUREY: Just be totally honest
9 MR. KARNATI: There might be some course 9 with me.
10 content that would be sent. Like even (Inaudible) she | 10 MR. KARNATI: Yeah.
11 might be (Inaudible) even for me I look for the 11 DETECTIVE GOUREY: Is this University of
12 Georgia Tech, They have online classes. Even in 12 Farmington, the University of Farmington, are they
13 University of Cincinnati they have online classes. 13. actually offering classes or is the University of
14 DETECTIVE GOUREY: So does the University 14 Farmington, do you pay to go there so you can keep
15 of Farmington send, like, do it online? Do they do 15 your F-l status? Just be honest with me. Don't lie
16 online courses? 16 tome. It's not good to lie to me.
17 MR. KARNATI: They do online. As I was 17 MR. KARNATI: Honestly, I'l] tell you, sir.
18 told, like one time a semester probably she may need 18 DETECTIVE GOUREY: Yeah.
19 to come here. 19 MR, KARNATI: So I -- when I told
20 DETECTIVE GOUREY: Okay, But I'm not 20 Louisville campus, they go --
21 worried about the one time a semester that she comes 21 DETECTIVE GOUREY: I don't care about
22 here. I'm not worried about that. I understand that | 22 campus. I'm talking about the University -- the
23. you have to come here. I'm asking what the course 23 ‘University of Farmington.
24 content is, what they're bringing down here. Okay. 24 MR. KARNATI: Yeah.
25 How they're delivering the course content. This is 25 DETECTIVE GOUREY: I'm asking you
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1 what I'm asking you. 1 specifically.
2 MR. KARNATI: Okay. 2 MR. KARNATI: Sir, to the best of my
3 DETECTIVE GOUREY: So are -- is it online? 3 knowledge, they go to the classes once in the
4 MR. KARNATI: It is online, yeah. 4 semester. That's what I know other than --
5 DETECTIVE GOUREY: For sure. 5 DETECTIVE GOUREY: Once a semester they go
6 MR. KARNATI: Yes. 6 to one class?
7 DETECTIVE GOUREY: Positive? 7 MR. KARNATI: That's what I think.
8 MR. KARNATI: Yeah. 8 DETECTIVE GOUREY: Okay. What else do they
9 DETECTIVE GOUREY: Okay. And how do you 9 do for four months? A semester is four months,
10 know it's online? 10 correct?
11 MR. KARNATI: I mean, how do you know means | 11 MR. KARNATI: Yes.
12 like when I did the research delivering the content 12 DETECTIVE GOUREY: So let's say the
13. online, that's how I know, 13 semester is three or four months hypothetically.
14 DETECTIVE GOUREY: They said they were 14 Okay?
15 going to deliver content online? 15 MR. KARNATI; Yeah.
16 MR. KARNATI: Yes, probably somewhere on 16 DETECTIVE GOUREY: Don't worry about
17 there, yeah. 17 whether it's three or four.
18 DETECTIVE GOUREY: Okay. And earlier we 18 MR. KARNATI: Yeah.
19 talked about them being a real university. 19 DETECTIVE GOUREY: Just approximately three
20 MR. KARNATI: Yes. 20 or four months.
21 DETECTIVE GOUREY: You said you think al MR. KARNATI: Yeah, yeah.
22 they're a real university? 22 DETECTIVE GOUREY: Okay. So they have to
23 MR. KARNATI: Yeah, yeah. 23 go to the University of Farmington one time?
24 DETECTIVE GOUREY: But when I asked you 24 MR. KARNATI: Yeah.
25 about other universities, you said, yes, you didn't 25 DETECTIVE GOUREY: Okay. I'm asking you,

 

 

 

 

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1 that one time that they go, I'm asking you what do 1 DETECTIVE GOUREY: No one complains about
2 they do in the meantime? So in four months you only 2 it, it’s easy, smooth going. So why do I want to go
3. have to go one time to the university? 3. to an easy, smooth going university? Why don't I want
4 MR. KARNATI: Yeah. 4 to go to a university where I get taught something?
5 DETECTIVE GOUREY: So how do they get their | 5 MR. KARNATI: You are right. Exactly. I
6 stuff, their curriculum outside of that? 6 totally agree with you, sir, actually. But say, for
7 MR. KARNATI: They have like -- they have 7 example, for housewives, it's not master's will be --
8 that online things that we may submit the assignments 8 should be too challenging always like. I'm in here,
9 online. 9 I'm thinking there will be some flexible university
10 DETECTIVE GOUREY: What kind of assignments |10 (Inaudible). If that is the case in bachelor's we go
11 are they -- 11 the university of (Inaudible). But in the master's,
12 MR. KARNATI: Again, that's what —- to that |12 all the good universities are offering online. So
13 extent, I don't know, sir. I only help the students 13. what does it mean? It's like you have some
14 to get their admission. Other than that one, it's not | 14 flexibility to study, to work, to -- because right
15 that -- I really did not get into that how -- I know 15 after bachelor's, you may have your family commitments
16 it might be easy because no one complained that it is |16 and you may have your work commitment.
17 tough. So I know that it might be easy assignments. he} So some universities, depending on --
18 DETECTIVE GOUREY: Okay. 18 depending on -- some universities will be a little
19 MR. KARNATI: Easy professors might be 19 flexible because in -- in University of Louisville,
20 easygoing with them. 20 the professors understand, I know you are —- you
21 DETECTIVE GOUREY: Okay. 21 already, sir, do too much work, so you do this
22 “MR. KARNATI: So that's what -- I know that |22 assignment, I'll give some time for you to do this
23 one because the one told that, hey, I could not get 23 assignment.
24 into the -- this -- 24 Otherwise it will be -- we don't study the
25 DETECTIVE GOUREY: A good university? 25 way we studied in the bachelor's like (Inaudible) or
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1 MR, KARNATI: No, I did not (Inaudible) 1 something like that. Professors understand the
2 state any place, some other place, It's not like 2 content and the manipulate the thinking. So this like
3. that. So I thought it's -- it's a small going 3. all this is -- this is also like one university is
4 university. 4 (Inaudible) obviously, everyone can't be in the
5 DETECTIVE GOUREY: Okay. 5 Harvard University.
6 MR. KARNATI: (Inaudible) I mean, so you 6 DETECTIVE GOUREY: Yeah.
7 understand, usually I felt like, okay, it's going 7 MR. KARNATI: All right. So there might be
8 good, so easy for the people, for easygoing. It might | 8 some university for some people who are at their
9 be helpful like for housewives or someone who wants to | 9 level. Sol thought, this will be the university. So
10 do master’s. 10 some mid-grade people who can -- really wants to study
11 DETECTIVE GOUREY: Okay. 11 and will --
12 MR. KARNATI: It could be helpful. That's | 12 DETECTIVE GOUREY: Okay.
13 what I'm -- 13 MR. KARNATI: So that is --
14 DETECTIVE GOUREY: But if you're going for | 14 DETECTIVE GOUREY: So earlier you said when
15 your master's, isn't the point of going for your 15 you started referring people, you didn't refer them
16 master's is to learn of like to get a better knowledge |16 for the money?
17 than bachelor's, right? So you want to get a better i? MR. KARNATI: No, sir.
18 knowledge than bachelor's, right? 18 DETECTIVE GOUREY: You referred them --
19 MR. KARNATI: Right. 19 MR. KARNATI: Just to --
20 DETECTIVE GOUREY: So if I want to go toa | 20 DETECTIVE GOUREY: -- because they needed
21 college and I want to get a better knowledge than 21 help to go to a university and stuff like that?
22 bachelor's, okay, why am I going to go to a university | 22 MR. KARNATI: Yeah.
23 «that isn't a good university that's easy? You just 23 DETECTIVE GOUREY: So you obviously knew
24 said they're easy -- 24 what was going on with this university.
25 MR. KARNATI: Yeah. 25 MR, KARNATI: No, sir. What is going on

 

 

 

 

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1 with the university in the sense I'm not (Inaudible) 1 educated person, a lot of these guys, they went to the
2 that point. 2 best schools, they went to law schools, they
3 DETECTIVE GOUREY: Okay. So you don't -- 3. understand law very well.
4 go you -- so you're -- what I'm saying is, you're 4 I have to prove to them -- they have to
5  xveferring somebody to the university -- 5 basically sign a warrant. They have to give me
6 MR. KARNATI: Oh, yeah. 6 permission to arrest you. Do you think I went to the
7 DETECTIVE GOUREY: And you -- you're 7 judge and I said, I need to arrest Mr. Karnati. Now
§  xeferring people to the university and you said it § he doesn't know much about the school. He doesn't
9 wasn't for the money. , 9 know how good of a school it is. He doesn't know this
10 MR. KARNATI: Mat-hmm. 10 or that. He doesn't know much about anything.
11 DETECTIVE GOUREY: So you're not referring | 11 NR. KARNATI: Yeah.
12 people for the money. Are you referring them because | 12 DETECTIVE GOUREY: He doesn't know anything
13. it's -- 13 about the school, but I still want to arrest him. Do
14 MR. KARNATI: Yeah. If they say that I 14 you think the judge would sign and say -- and say,
15 want a less -- I'll tell you, sir, like they already 15 yes, you can arrest him?
16 do their master's, okay, and they want to do the 16 MR. KARNATI: Sir, honestly --
17 second master's for some people. They already might 17 DETECTIVE GOUREY: Or do you think the
18 be working. So when they ask one for less fees, 18 judge would say to me, that's not enough, I -- I want
19 somehow I got to know about this university from 19 you to prove to me that Mr. Karnati knew that this was
20 Santosh. So there I started. 20 not a good school. He knew that this was a fake
21 DETECTIVE GOUREY: Well, you said you got 21 school. He knew that they weren't teaching classes.
22 to know this university, but I keep asking you 22 He knew that they were not -- they were not teaching
23 questions about this university and you don't seem to | 23 any kind of IT courses. They were not teaching
24 know a lot about it. 24 computer science courses. They were not teaching
25 MR. KARNATT: No, sir. I don't know a lot |25 anything. These were not online classes. These were
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1 about like how it operates and all. So I feel it isa | 1 not classes that were in the school.
2 legitimate -- 2 On top of that, Mr. Karnati referred
3 DETECTIVE GOUREY: So why are you 3. students just so they could keep their F-1 status.
4 recommending people to a university that you don't 4 And then on top of that, received payment of $200 per
5 know anything about? 5 student from Mr. Santosh.
6 MR. KARNATI: ‘That's what -- I mean, again, 6 Do you think I would have to go to them and
7 I'm-- I feel like it was a legitimate and less fees 7 TZ would have to say all of that before they would give
8 so I just told them that, hey, this would be a right 8 me a search warrant -- an arrest warrant for you?
9 for you to go and check how good it is. 5 MR. KARNATI: Sir, I honestly tell you, I'm
10 DETECTIVE GOUREY: All right. So, again, 10 honestly telling you, sir.
11 I'm asking you to be honest. I DETECTIVE GOUREY: Yes.
12 MR. KARNATI: Yes, sir. 12 MR. KARNATI: I don't know how the -- that
13 DETECTIVE GOUREY: I'm telling you to be 13 they don't conduct the classes. Those are all the
14 honest. 14 things I really don't know, sir. I only know that the
15 MR. KARNATI: Yeah. 15 fees is less and that the course is flexible for the
16 DETECTIVE GOUREY: Okay. Because here's 16 working professional and the housewife: So depending
17 the thing, here's the thing, again, like I've got to 17 on that one, if you are doing for the second master's.
18 have a reason to arrest you. 18 You may say that like some people may ask
19 MR. KARNATI: Yeah. 19 that they want to keep up the status, but they want
20 DETECTIVE GOUREY: Okay. I've got to tell | 20 the less fees.
21 a federal judge, hey, this is what we need to arrest 21 DETECTIVE GOUREY: Mm-hnm.
22 Mr. Rarnati. And that federal judge is going to say, | 22 MR. KARNATI: So I honestly thought it was
23° yes you have enough or no, you don't have enough. So |23 a legitimate -- it's not that, again, you can compare
24 if I go to a federal judge and I say, federal judge, 24 it to Harvard or something like that. I thought at
25 you are a very high level, you know, of -- a very 25 your level probably this would be a good university.

 

 

 

 

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1 $0 like that only I'm referring. 1 SPECIAL AGENT EDWARDS: So why would

2 DETECTIVE GOUREY: Right. 2 someone want a second master's there?

3 MR. KARNATI: So can you help me to get 3 MR. KARNATI: Probably they may want to

4 admission? Yes, I can. I know a person. I can help 4 keep up their status.

5 you to get that admission. So that is the only thing 5 DETECTIVE GOUREY: See, now, see you're

6 I really know about this, sir. 6 being honest.

7 DETECTIVE GOUREY: Why -- but did people 7 MR. KARNATI: Wo, no.

8 come up to you and did they say, I want to go toa 8 DETECTIVE GOUREY: So be honest.

9 school to keep my status, but I don't want to take any | 9 MR. KARNATI: I said that. They keep up --
10 classes? 10 they're working, they keep up their status, and they
il MR. KARNATI: ‘They don't say that as -- i1 want to get into the States.

12 DETECTIVE GOUREY: Say it honestly. 12 SPECIAL AGENT EDWARDS: Oh, to get a second
13 MR. KARNATI: Yeah. They don't say that 13 master's -- as long as they keep working they can keep
14 one. They say that like less frequent. 14 their status, is that how it works?
15 DETECTIVE GOUREY: Okay. 15 MR. KARNATI: Yeah.
16 MR. KARNATI: Comfortable because I'm in 16 SPECIAL AGENT EDWARDS: I'm the computer
17 California, if there is anything that can get 17 guy --
18 admission, maybe we can get a little bit (Inaudible) 18 MR. KARNATI: As long as they keep working,
19 admission. 19 they can keep up the status if they are on F-l.
20 DETECTIVE GOUREY: Mm-hinm. 20 SPECIAL AGENT EDWARDS: Okay.
21 MR. KARNATI: So this university you can 21 MR, KARNATI: So they'll want to keep the
22 get admission and less frequency. 22 ¥F-L and they want to work.
23 DETECTIVE GOUREY: Okay. aa SPECIAL AGENT EDWARDS: Is that school like
24 MR. KARNATI: Okay. So that is what I know | 24 a real easy school to get into? You said they don't
25 about this one and I referred to Santosh and 25 even take a GMAT or anything?

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1 ultimately it tumed as a little bit of profit. It's 1 MR. KARNATI: Not many schools take the

2 not that I'm living on that. I'm just doing only for 2 «GMAT, sir.

3. (Inaudible). You just understand me. 3 SPECIAL AGENT EDWARDS: Not many?

4 DETECTIVE GOUREY: Okay. 4 MR. KARNATI: If you have experience, some

5 MR. KARNATI: Okay. 5 universities can waive off. Some universities waive

6 SPECIAL AGENT EDWARDS: Some of your 6 off because you have experience. Obviously, you're

7 friends are getting second master's? 7 working and you've spent 15 years, like client is

8 MR. KARNATI: Yes, some of the friends. 8 maintaining and you're a good person too.

9 SPECIAL AGENT EDWARDS: Why are they -- 9 SPECIAL AGENT EDWARDS: How much do they
10 MR. KARNATI: Not friends -- 10 charge there?

ll SPECIAL AGENT EDWARDS: People you know? 11 MR. KARNATI: The fees, I know that one. I
12 MR. KARNATI: Yeah, 12. think --

13 SPECIAL AGENT EDWARDS: Why are people that | 13 SPECIAL AGENT EDWARDS: How much do they

14 you know getting a second master's? What is the 14. charge?

15 xeason behind that? 1s MR. KARNATI: It is not, again, it's less

16 MR. KARNATI: See, some people -- some 16 expensive, sir. ‘The University of Louisville, I am
17 people after master's in computer science, they go for | 17 paying $30,000 for part of one year.

18 the -- sorry -- MBA. Okay. 18 SPECTAL AGENT EDWARDS: Okay.

19 SPECIAL AGENT EDWARDS: Does that school 19 MR. KARNATI: So it is -- this

20 offer MBA? 20 university --

21 MR. KARNATI: No, not all this. Zi: SPECIAL AGENT EDWARDS: ‘That's a lot.

22 SPECIAL AGENT EDWARDS: So the school does | 22 MR. KARNATI: That's a lot. And my

23 not offer an MBA? 23 company's giving me, sponsoring me with some amount.
24 MR. KARNATI: This school, I don't think it | 24 SPECIAL AGENT EDWARDS: Oh.

25 does. Only computer science. 25 MR. KARNATI: That's the reason -- it's not

 

 

 

 

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1 much of one, but from my pocket it is close to 1 promotion, I should have (Inaudible) degree.
2 $20,000. So for this university also it costs $20,000 | 2 DETECTIVE GOUREY: Yeah. ;
3 for the two years period. 3 MR. KARNATI: So after this one, if I want
4 SPECIAL AGENT EDWARDS: $20,000 for two 4 to do my MBA to show that I am doing MBA, I don't
5 years? 5 spend as much amount. I look for a cheap
6 MR. KARNATI: Yeah, because the reason I'm 6 university --
7 telling you this one, I know those digits because 7 DETECTIVE GOUREY: Mm-hmm.
8 students are asking me those digits. No student asked | 8 MR. KARNATI: -- obviously. So I go for
9 me what are the course details inside. They can -- I 9 Duke University -- not sorry, Duke. There is a
10  amthinking they'll go and do the research. Okay. So |10 University called DeVry.
11 $20,000 for two years. For a semester it's $2,500. yit DETECTIVE GOUREY: DeVry.
12 (Inaudible) they have three months is a semester. 21 | 12 MR. KARNATI: DeVry. I'1l go to that
13 months close to $20,000 it will cost. So that's what |/13 because I see it's cheap. But if you ask me
14 -- only the flexibility is you pay less here. If you |14 (Inaudible) university (Inaudible). I trust the U.S.
15 go to the University of Louisville's perspective, you [15 government and I think it's a real -- if -- and some
16 have to pay $10,000 because I have -- because I'm 16 whom are my friend comes, hey, you know, where are you
17 taking (Inaudible) course. So it is just one year. 17. doing your MBA? It's in DeVry University. Okay. Can
18 So I have to pay $10,000 at that time. 18 you get me admission? Okay, sure. I know some
19 SPECIAL AGENT EDWARDS: Okay. 19 admission. Because I'm no longer doing this, even the
20 MR. KARNATI: So even for me also, it is 20 man in the university, I got to know many people on
21 very tough to pay $10,000. 21. the fly. (Inaudible) is it a real university? I
22 SPECIAL AGENT EDWARDS: Yeah, that's lot of | 22 don't know. Unless I get that close or something like
23° “money. 23 that, I don't know. Like people are going to India
24 MR. KARNATI: Yeah, So students who are 24 coming without any problem.
25 doing their work, some people might be doing 25 DETECTIVE GOUREY: All right. What happens
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1 contracting jobs, so they can't pay that much at a 1. to you when you're done with school?
2 time. So they see the University of Phoenix, even if 2 MR. KARNATI: For me, I amon H-l. I'm not
3. I get my wife, I can't pay that much at a time. So 3 anF-l, sir. I'm actually studying. I'm actually
4 I'm just thinking how flexible it is. So these are 4 studying. I want to do for my better promotion and my
5 the things that -- 5 carrier. I'm studying. Okay. Say, for example, for
6 SPECIAL AGENT EDWARDS: So your friends -- 6 you, also you might be for you better (Inaudible)
7 MR. KARNATI: Sorry. : 7 writing some exams, something like that. I mean, for
8 SPECIAL AGENT EDWARDS: -- that are working | 8 the department may say that you have to do this
9 on their second master's, if they can't get into a 9 course, you go to the university.
10 school, what happens to them? 10 Okay. So if I want -- again, I want to do.
11 MR. KARNATI; I mean, (Inaudible) in the 11 I amdoing master's of science and business analytics.
12 school differently. They will be on the school who is |12 That is my computer side. If I want to go as a
13 offering the admission because it's all. (Inaudible) [13 manager, I have to do my MBA. I already spent $20,000
14 to answer your question, it's not for the first 14 with my two kids going to school soon, probably
15 master's, They may ask -- even they are asking me the |15 college, I can't again spend -- I see -- because my
16 GMAT, But they will because Humana, my company, has 16 company sponsors $5,000 for year, I see if there is
17. the sponsor. He is a sponsor also and I have a good 17. any university which can give me $5,000 for admission.
18 work experience. Okay. 18 I'll say DeVry University. I do some research. Yes,
19 So second master's, you already did the 19 it is a good university. Then I'll try to enter. If
20 master's. You don't need to fill in the GRE. 20 it's online, it's much better for me.
21 So (Inaudible) like my wife, some 21 DETECTIVE GOUREY: Okay.
22 wniversities may ask. For second master's, no 22 MR. KARNATI: If someone asks okay, DeVry
23. wniversity will ask. Even after I complete my 23 University is good, yes. (Inaudible) obviously
24 master's here, if I go onto the university, if I stay | 24 University of Cumberland, There are many universities
25 onto universities -- many things -- sir, like, for my |25 which are taking students. Are all of them like

 

 

 

 

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1 Harvard, if you ask me -—- 1 online. Okay. For the Georgia Tech, the fee is just
2 DETECTIVE GOUREY: You know what, it 2 $7,000 for two years, if you take online class.
3 doesn't have to be like Harvard. For example, 3 DETECTIVE GOUREY: Okay.
4 Louisville is not Harvard, right? 4 MR. KARNATI: So obviously I thought that
5 MR. KARNATI: Louisville. 5 you don't need to maintain that much infrastructure.
6 DETECTIVE GOUREY: Louisville is not 6 DETECTIVE GOUREY: Okay.
7 Harvard, right? 7 MR. KARNATI: Okay. So you -- you do not
8 MR, KARNATI: Right. 8 need to get in the classes if it is online many of the
9 DETECTIVE GOUREY: Louisville, at least 9 times. If you're online -- I'm talking you're online.
10 they offer the classes. They're offering you -- 10 So you don't need to pay the professor. One recording
11 you're going to get a good education from Louisville. |11 is there. ‘You go to that recording. You hear it.
12 Now, some of these, even DeVry ~~ even DeVry -- DeVry, | 12 DETECTIVE GOUREY: So are you saying you
13 you have curriculum. 13. could listen to a recording from previous classes?
14 MR. KARNATI: Yes. 14 MR. KARNATT: Yes. That is how the onlines
15 DETECTIVE GOUREY: You have classes. You 15 are being maintained. Georgia Tech also.
16 have papers that you have to write. You have tests 16 DETECTIVE GOUREY: So you don't have to
17 that you have to take. 17 go -- so the professor may have taught something or
18 MR. KARNATI: Mm-hnm, yeah. 18 given a lecture three years ago and all you're doing
19 DETECTIVE GOUREY: Okay. At this 19 is watching a recording?
20 university, okay, we see that there are no tests being | 20 MR. KARNATI: Watching a recording and take
21 ~~ taken. 21 the tests. So that's how the Georgia Tech operates.
22 MR. KARNATI: Okay. That's (Inaudible), 22 Or the professor will send you, go through this
23 sir. : 23. content. That is how I know.
24 DETECTIVE GOUREY: So tell me about that. 24 DETECTIVE GOUREY: So they don't have to
25 Why are tests not being taken if it's a -- if it's a 25 pay -~ they don't have overhead because they don't
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1 good college? 1 have classrooms. They don't have to pay professors
2 MR. KARNATI: JI thought it's a good -- say, | 2 because they're using old material?
3 for example, there is a University of Louisville 3 MR. KARNATI: Yes, that's the reason why
4 campus. It runs in four months probably. You may go 4 I'm thinking.
5 to classes, you may not go to classes. 5 DETECTIVE GOUREY: So you have no
6 DETECTIVE GOUREY: I'm not asking about 6 classrooms, no professors?
7 that. I'm not asking about that. I want you to 7 MR. KARNATI: No classroom is not -- they
8 answer my question. § have their own campus, but for online it's a flexible
9 MR. KARNATI: Yeah, sure. 9 part for the working professionals and the housewives.
10 DETECTIVE GOUREY: Why is nobody taking 10 $0 that's what I'm --
ll tests? 11 DETECTIVE GOUREY: Okay. So let me explain
12 MR. KARNATI: I really don't know that they |12 something to you. So it's against the law to lie toa
13 are not taking tests. That's what I am saying because [13 federal agent.
14 I am not into in University. 14 MR. KARNATI: Yes, sir.
15 DETECTIVE GOUREY: Okay. 15 DETECTIVE GOUREY: You've just got to know
16 MR. KARNATI: I only help -- I only know 16 that. We're both special agents with Homeland
17 that from that one it gives -- 17 ‘Security.
18 DETECTIVE GOUREY: Do you think that -- so | 18 MR. KARNATI: Sure.
19 there are no tests. 19 DETECTIVE GOUREY: The law is called making
20 MR. KARNATI: Fees. 20 false statements. It is -- it's Title 18
21 DETECTIVE GOUREY: Why are the fees less? 21. United States code 1001. I can bring a law book in
22 MR, KARNATI: Okay. Fees less, I'll tell 22 here. Hang on -- hang on. Let me finish,
23. my interpretation. 23 I can bring a lawbook in here and I can let
24 DETECTIVE GOUREY: Okay. 24 you look at the lawbook and you can read the law if
25 MR. KARNATI: Fees less is because of the 25 you want. Just tell me. It's no big deal. I can do

 

 

 

 

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1 it. 1 my life. I have researched other universities. I
2 SPECIAL AGENT EDWARDS: (Inaudible). 2 have many friends who went to a whole bunch of |
3 DETECTIVE GOUREY: Do you want to read the 3 wniversities. I work with people who went to a

4 law? 4 multitude of universities, both online and in-person
5 MR. KARNATI: No, sir. 5 universities. Nobody has ever said to me, yeah, I

6 DETECTIVE GOUREY: Just trust me when I say | 6 went to college for four years and I only had to go to

7 like making false statements to a federal agent is 7 class once a semester. Nobody has ever said that to

8 against the law. 8 me.

9 MR. KARNATI: Yeah. 9 So when you keep saying many colleges are
10 SPECIAL AGENT EDWARDS: (Inaudible) is 10 doing it this way, many colleges are not doing it this
11 prison. 11 way. That is completely false. They are not doing it
12 DETECTIVE GOUREY: I'm going to ask you. 12 this way. A good university, a real university, is
13 I'm going to ask you this question again. Okay? 13 not doing it. A fake university, that is -- you're
i4 Okay. I'm going to ask you this question again. I 14 going there for your F-1 status, so the only —- the
15 want to ask a series of questions about this. 15 purpose of that university is to keep your status,

16 MR. KARNATI: Sure. 16 they're doing it that way. But real universities that

Ai DETECTIVE GOUREY: The reason for the 17 xeally care about students that want to teach them

18 University of Farmington, just be honest, the purpose [18 something, they're not doing it that way.

19 of paying the University of -- the University of 19 MR. KARNATI: That's what (Inaudible).

20 Farmington money was not necessarily to get an 20 ‘That point I don't know. If you see there is a

21. education because they did not offer an education. 21 university of campus of University in Louisville. It

22 “The purpose of paying the University of Farmington was | 22 is also offering -- a one semester class. Many

23 for maintaining immigration status and not for 23 (Inaudible) many people are traveling from India and

24 education in any way, shape, or form? 24 abroad. That's like -- I know that university closely

25 MR. KARNATI: Okay. 25 because I live in Louisville. So I thought that is a
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1 DETECTIVE GOUREY: I'm asking you, yes or 1 legitimate way. That is legitimate.

2 no; is that true? 2 So even again, to the best of my knowledge,

3 MR. KARNATI: I don't know to that extent, 3. online is also -- online class is an acceptable class.

4 sir. I know the fees is less and the (Inaudible) go 4  §o even in Farmington also I thought it's online the

5 to the classes often. These are the main two things 5 same, online.

6 that are -- that -- that I tell to students. 6 DETECTIVE GOUREY: Okay.

7 DETECTIVE GOUREY: But they do offer 7 MR. KARNATI: $0 I thought it's an online

8 classes? 8 flexible wmiversity. That is the only reason. It's

9 MR. KARNATI: That's what, sir, I don't -- 9 not that -- I don't know exactly, what exactly is
10 I think they offer once a semester class. 10 happening with only for student status or something
TE DETECTIVE GOUREY: So you're recommending 11 like that.

12 students to a school that you don't under -- you don't | 12 DETECTIVE GOUREY: Okay. Give us a second.
13 know if they offer classes? I'm asking you. You 13 MR. KARNATI: Sure, sir. Again,
14 said, well, they make you go one time to a class. 14 (Inaudible) on.

15 Right? So they make you go to a class one time. I'm | 15 DETECTIVE GOUREY: Okay.

16 asking you. You're recommending students to a 16 MR. KARNATI; Again, it's not that I want
17 university that you think offers a class one time over |17 to do something wrong or --

18 four months? 18 DETECTIVE GOUREY: Yeah,

19 MR. KARNATI: Yes. Yeah, because there are | 19 MR. KARNATI: Just for helping.

20 many universities do like that. 20 DETECTIVE GOUREY: Okay. All right. Just
21 DETECTIVE GOUREY: Okay. 21 stay put for a second. We're going to come and talk
22 MR, KARNATI: They ask about is it creating |22 to you here in a minute.

23. any problems. 23 MR. KARNATT: Can I get some water?

24 DETECTIVE GOUREY: I'll tell you what. I 24 DETECTIVE GOUREY: What's that?

25 went to -- I have gone to two universities, okay, in 25 MR. KARNATI: Can I just get some water?

 

 

 

 

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1 DETECTIVE GOUREY: Yeah, in a minute. Ina | 1 program?
2 minute. I'll bring you -- we're almost done. 2 MR. KARNATI: Yeah.
3 SPECIAL AGENT EDWARDS: There is a water 3 DETECTIVE GOUREY: Okay. So you -- going
4 right there. You can have that one. 4 off that, you're saying I want to study. I'm
5 DETECTIVE GOUREY: This one here? 5 taking -- I'm very serious about studying. I'm
6 SPECIAL AGENT EDWARDS: And you already had | 6 doing -- so I'm going to the University of Louisville?
7 (Inaudible). 7 MR. KARNATT: Yeah. Because it's closer to
8 MR. KARNATI: I'll be (Inaudible) to really | 8 me also.
9 study at the university, you see my attitude. 9 DETECTIVE GOUREY: Right. Because it's
10 (Inaudible) so I want to study. 10 closer to you also. But you also said something like
11 DETECTIVE GOUREY: Yeah, yeah. 11 I -- you said something about like I want you to know
12 MR. KARNATI: Otherwise I should have 12 I'm taking my education very seriously.
13 gotten in some (Inaudible). 13 MR. KARNATI: I'm just telling you this.
14 DETECTIVE GOUREY: Okay. 14 DETECTIVE GOUREY: ‘That you take your
15 MR. KARNATI: It's not depending on the 15 education very seriously.
16 person (Inaudible). 16 MR. KARNATI: Yes, sir.
17 DETECTIVE GOUREY: Hold that thought for a | 17 DETECTIVE GOUREY: Okay. ‘Then you -- I'm
18 second. Hold that thought and hold onto that for a 18 not denying that you don't. By meeting you, I can
19 second. We're going to talk more about that. 19 tell. I understand that you do take your work
20 MR. KARNATI: Sure. 20 seriously, your education seriously, and your family
21 DETECTIVE GOUREY: All right. Before we 21 seriously. I understand that. So you take yourself
22 walked out, you were -- you were saying something 22 ~+seriously.
23. about your education. 23 You take your education -- let's just talk
24 MR. KARNATI: Yeah. 24 about your education for right now. You take your
25 DETECTIVE GOUREY: Goon. Go ahead and 25 education very seriously.
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1 finish. I'msorry. I was half paying attention. 1 MR. KARNATI: Yes, sir.
2 MR. KARNATT: No. Actually I was -- 2 DETECTIVE GOUREY: So you -- but at the
3 DETECTIVE GOUREY: Go ahead. 3 same time, you enrolled in the University of
4 MR. KARNATI: Actually, I was telling like 4  TLouisyille?
5 I'm studying in the University of Louisville. 5 MR. KARNATI: Yes, sir.
6 DETECTIVE GOUREY: Okay. 6 DETECTIVE GOUREY: Okay. And the reason
7 MR. KARNATI: And -- 7 you enrolled in the University of Louisville, is it
8 SPECIAL AGENT EDWARDS: (Inaudible). 8 because it's a good college?
9 MR. KARNATI: Thank you. 9 MR. KARNATI: It's a good college.
10 Like I'm (Inaudible) working, studying, 10 DETECTIVE GOUREY: The professors are
11 family. 11 competent, right? They're very good professors?
12 DETECTIVE GOUREY: Okay. 12 MR. KARNATI: I did not do the research to
13 MR. KARNATI: So it's not that I want to 13 that extent. Because I live close, I know that the
14 Just study something and it's a very good university. | 14 University of Louisville is a good college and the
15 I'm just telling you that part. 15 course they are offering has high demand because of
16 DETECTIVE GOUREY: ‘That you're going to the |16 the business analytics course.
17 university of -- you're -~ I thought you said 17 DETECTIVE GOUREY: Okay.
18 something like you're very serious about your 18 MR. KARNATI: So that's a reason why I have
19 education, 19 chosen that.
20 MR. KARNATI: Yeah, 20 DETECTIVE GOUREY: And they have -- okay.
21 DETECTIVE GOUREY: And that's why you're 21 So I quess basically -- you're taking your education
22 going to the university of -- 22 ~very seriously?
23 MR. KARNATI: It's not like that. I want 23 MR, KARNATI: Yes.
24 to really study good things. 24 DETECTIVE GOUREY: Would you say that the
25 DETECTIVE GOUREY: You want to study a good |25 people who went to the University of Farmington were

 

 

 

 

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1 not taking their education very seriously? 1 DETECTIVE GOUREY: I know all about the
2 MR. KARNATI: It's not like that, sir. It 2 school. I know about everything. On top of that, I
3 is just -- it is more flexible. That is all -- the 3. know that you know that the school is not a legitimate
4 only thing with respect to the University of 4 school.
5 Farmington. 5 MR, KARNATI: Legitimate school, honestly,
6 DETECTIVE GOUREY: Okay. 6 I'mtelling you, sir, I don't know ~- that's what I'm
7 MR. KARNATI: Okay. And the -- the value, 1 telling you. For the campus and (Inaudible) if you
8 what we got (Inaudible) because even I'm taking the 8 ask me it's a legitimate school. I really don't know
9 course and (Inaudible) University of Louisville. 9 whether it's a legitimate school.
10 DETECTIVE GOUREY: Louisville is probably 10 DETECTIVE GOUREY: ‘Then why are you going
11 ranked. Louisville is the top 100, right? 11 to enroll your wife into it?
12 MR. KARNATI: Yeah, but I wouldn't be the 12 MR. KARNATI: That's what I thought, it was
13 same person who went to Harvard of Massachusetts. 13. a legitimate school only because -~
14 DETECTIVE GOUREY: No, no, no. Forget 14 DETECTIVE GOUREY: No, no, no, you just
15 Harvard. Forget -- 15 said. You just said right now just before you said I
16 MR. KARNATI: No, I just -- 16 thought it was a legitimate school, just before that
17 DETECTIVE GOUREY: I'm not worried about 17 you said, I honestly don't know. You said a
18 Harvard. I'm worried about the University of 18 legitimate and illegitimate. I really don't know if
19 Farmington and whether they actually -- whether or not | 19 it's a legitimate school or not. That's what you just
20 the University of Farmington actually has classes or 20 said. You really don't know whether or not it is a
21 not. I think -- 21 legitimate school.
22 MR. KARNATI: Yeah, it is online or once a | 22 MR. KARNATI: Right.
23 semester. 23 DETECTIVE GOUREY: But at the same time,
24 DETECTIVE GOUREY: Okay. It's not. It's 24 you are going to get your wife enrolled there. Now
25 not. 25 you said earlier because of price and because of
Page 66 Page 68 |
1 MR. KARNATI: It's not. 1 English.
2 DETECTIVE GOUREY: It's not online. 2 MR. KARNATI: Yeah.
3 MR. KARNATI: Okay. 3 DETECTIVE GOUREY: And flexibility and
4 DETECTIVE GOUREY: ‘They don't -- they don't | 4 stuff like that.
5 do classes online. 5 MR. KARNATI: Right.
6 MR. KARNATI: Okay. 6 DETECTIVE GOUREY: Okay. But like the
7 DETECTIVE GOUREY: Okay. I know this. I 7 reality is, is that people are going there to maintain
8 know -- it seems to me that I know more about the 8 their F-1 status, and I think you know that, That's
9 school than you do. 9 why you're getting paid.
10 MR. KARNATI: Okay. 10 Does Harvard pay recruiters per person to
11 DETECTIVE GOUREY: It appears this way 11 bring people in?
12 because I don't think you're being honest when it 12 MR. KARNATI: Wot the Harvard.
13 comes to this kind of stuff. 13 DETECTIVE GOUREY: Does the University of
14 MR. KARNATI: No, no, no, sir. 14 Louisville bring -- pay people per person to bring
15 DETECTIVE GOUREY: Well, it just -- it 15 them in?
16 appears that way. Now, listen, if I'm going to enroll | 16 MR. KARNATI: ‘There are many state
17 my wife into a school, if I'm going to go and 17 universities which has (Inaudible).
18 recommend my wife to a school, I'm going to know about | 18 DETECTIVE GOUREY: Who? Which state
19 that school. I think you know about the University of |19 universities pay people per person to recruit?
20 Farmington. It's clear that you have not only 20 Which -- which university pays a person cash, $200
21 recommended your wife, not only are you going to 21 cash per person, to bring somebody in?
22 enroll your wife, but 30 other men, 30 other women who | 22 MR. KARNATI: That's what -- again, that
23. you have recommended before, more than 30. You got 23 $200 cash thing, you are just tying it up. Actually,
24 paid for it. Okay. I know all about that. 24 it's not the way -- it's been -- so --
25 MR. KARNATI: Okay. 25 DETECTIVE GOUREY: Earlier you said you got

 

 

 

 

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1 $200 cash per person. 1 software developer. Okay. Dumb people cannot be
2 MR. KARNATI: That's what I'm telling 2 computer software developers.
3. (Inaudible) to me. So if there is a flexible 3 MR. KARNATI: No, sir.
4 university, so I just recommended that one. I just 4 DETECTIVE GOUREY: Can they? Yes or no?
5 send that to that person, Santosh. After that, you 5 Can you be stupid and be a software developer?
6 refer this one. 6 MR. KARNATI: It's not like that.
7 DETECTIVE GOUREY: Okay. But earlier you 7 DETECTIVE GOUREY: You can't, right?
8 said I got paid for -- I recommended 30 or more people | 8 MR. KARNATI: (Inaudible).
9 to the University of Farmington to Santosh and Santosh | 9 DETECTIVE GOUREY: You have to be sharp.
10 paid me —- 10 You have to be sharp, right? You have to be very
11 MR. KARNATI: That's -- 11 smart?
12 DETECTIVE GOUREY: -- $200 per student and | 12 MR. KARNATI: Yeah.
13. I got paid cash. 13 DETECTIVE GOUREY: Yes or no?
14 MR. KARNATI: Right. 14 MR. KARNATI: Yes, sir.
15 DETECTIVE GOUREY: So just now, I just 15 DETECTIVE GOUREY: Okay. Because I don't
16 asked you a question and you want to divert the 16 understand it, but you do. Okay. So let me explain
17 subject, but I'm asking you again. So you said many 17. something to you. You are a very smart guy. Okay.
18 universities -- many state universities pay 18 You're in computer and electronic engineering. You're
19 xvecruiters, right? But you never -- I'm asking you: 19 a software developer. You're a very smart person.
20 How many state universities pay recruiters cash per 20 You conduct yourself very well. Okay. You dress
21 student to bring a student in? 21. nice, You have a good job. You have a family. You
22 MR. KARNATI:; I don't know much but -- 22 are very smart. You have a house and everything.
23 DETECTIVE GOUREY: I can tell you. 23 MR. KARNATI: Thank you.
24 MR. KARNATI: But -- 24 DETECTIVE GOUREY: But when I ask you about
25 DETECTIVE GOUREY: Legitimate universities |/25 the University of Farmington, you are, I don't know.
Page 70 Page 72
1 don’t pay cash per student to recruiters to bring 1 You don't know anything.
2 people in. Harvard doesn't. University of Louisville | 2 MR, KARNATI: I know. That's what I said.
3. doesn't. DeVry University doesn't. University of 3 I told you about the fees. I told you about —-
4 Phoenix doesn't. That's a large spectrum of colleges. | 4 DETECTIVE GOUREY: And so, again, so if a
5 They do not do that, It is not legitimate. You area | 5 university comes up to you and says, hey, you know
6 smart guy. Are you not? Are you smart? 6 what, because you recommended some of these guys, I'm
F MR. KARNATI: Yeah. 7 going to pay $200 -- I'm going to give you $200 for
8 DETECTIVE GOUREY: You are. I'm telling 8 all those guys that you recommended. As a smart man,
9 you you are. Your bachelor's was in what? 9 wouldn't you say, that doesn’t make any sense. Then
10 MR. KARNATI: Analytical electronics 10 when they pay you cash, wouldn't you say, that doesn't
11 engineering. 11 make any sense, why am I getting paid cash?
12 DETECTIVE GOUREY: Electronic? 12 MR. KARNATI: JI agree, sir.
13 MR. KARNATI: Yes. 13 DETECTIVE GOUREY: From a ~-- okay. So do
14 DETECTIVE GOUREY: Electronic engineering? |14 you see why I'm sitting here and I'm -- I'm looking at
15 MR. KARNATI: Yes. 15 you and I'm saying stop it. Stop it. Stop it. Be
16 DETECTIVE GOUREY: Okay. So you're an 16 honest. Stop it.
17 engineer? 17 MR. KARNATI: Yes, sir. That's what I'm
18 MR. KARNATI: Yeah. 18 saying. After that, I -- that's -- again, I totally
19 DETECTIVE GOUREY: Okay. I'm not an 19 in the past, up to that I never recommended any other
20 engineer because I'm not smart enough to be an 20 persons to them. Okay. So that was the end. And
21 engineer. You are smarter than me. 21 again, I'm saying, I thought it was an online program,
22 MR. KARNATI: No, sir. 22 but it's not that -- it's completely not a good
23 DETECTIVE GOUREY: You are. Okay. He is 23 university. Again, to answer your question, sir, to
24 not an engineer, You are a smarter than him. You are | 24 have evaluate myself.
25 asmart person. Okay. You work -- you're a computer | 25 DETECTIVE GOUREY: So you realize that it

 

 

 

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1 was not a good university? 1 MR. KARNATI: Per semester and flexibility.
2 MR. KARNATI: It might not -- again, that's | 2 ‘These are the only two factors. Say if you come to --
3. what I'm saying. 3. if you come to me and ask, hey, I'm looking for some
4 DETECTIVE GOUREY: Okay. 4 flexible university.
5 MR. KARNATI: ‘There might be online 5 DETECTIVE GOUREY: Mm-hmm.
6 courses. Again, to evaluate myself, I saw people 6 MR. KARNATI: I want less fees. So hey, go
7 coming -- again, that's what I'm saying. I saw people | 7 to the -- we have Farmington --
8 coming from India and going to India with different 8 DETECTIVE GOUREY: Okay.
9 status, getting cleared. 39 MR. KARNATI: -- so that is that.
10 DETECTIVE GOUREY: Right. 10 DETECTIVE GOUREY: Right.
11 MR. KARNATI: Okay. There is a person who | 11 MR. KARNATI: I also (Inaudible) okay. The
12 is transferred from H-4 to F-1. 12 students are going and coming --
13 DETECTIVE GOUREY: Right. 13 DETECTIVE GOUREY: Mm-hnum.
14 MR. KARNATT: So I thought it has a good -- | 14 MR. KARNATI: -- at the border, when
15 it is on the good books of (Inaudible). 15 they're crossing the border, transfers are happening
16 DETECTIVE GOUREY: Okay. 16 fine and ENCs. So these two, okay. So just this one.
17 MR, KARNATI: So even if I don't understand | 17 DETECTIVE GOUREY: So the border -- you saw
18 how they are exactly running the program, I know that /18 students come and go from the border and you saw that
19 itis in the good books of the university, so I can -- |19 they were not --
20 I think students will be okay over there. That is the | 20 MR. KARNATI: Just one or two people, yeah.
21 only reason why I am -- if I think if I get any 21 T just have two records.
22 (Inaudible) that it is a fake university, it's a 22 DETECTIVE GOUREY: So their visa was good
23 completely fake university, running only for the 23 because they were coming in and out?
24 status -- which is a (Inaudible) universities, even if | 24 MR. KARNATI: Yes, sir.
25 it is running for the status -- because the online 25 DETECTIVE GOUREY: So they had a good -- so
. Page 74 Page 76
1 program, there aren't many universities which are 1 it was a valid visa?
2 online programs, sir. 2 MR. KARNATI: Yes, sir.
3 DETECTIVE GOUREY: I know. But they don't 3 DETECTIVE GOUREY: And so you thought
4 have an online program. 4 because their visa was valid --
5 MR, KARNATI: Again, if you ask me if I 5 MR. KARNATI: Different cities.
6 completely don't know that they don't have an online 6 DETECTIVE GOUREY: -- that it must be a
7 program, probably. I might have done the mistake. 7 good university?
8 It's like my intuition. Like, okay, these are the 8 MR. KARNATI: That's what I thought
9 things happening, so they might have some online 9 (Inaudible).
10 program. That's how -- it's not that I suspected 10 DETECTIVE GOUREY: Okay. What questions do
li them. Okay. Do my research whether it's wrong or 11 you have?
12 right. 12 SPECIAL AGENT EDWARDS: What happens to
13 DETECTIVE GOUREY: Mm-hmm. 13. your F-1 if you're not in school?
14 MR. KARNATI: I didn't go to the extent. 14 DETECTIVE GOUREY: What happens to an F-1
15 You understand, sir, that's what I'm telling you. I 15 visa if you're -- if you graduate or you drop out of
16 didn't go to that extent. Okay. So if this is 16 school?
17 happening, fine. So these are in the -- it might be 17 MR. KARNATI: The F-1 will stay there for
18 in the good books of the (Inaudible). 18 some days and I think they say (Inaudible).
19 DETECTIVE GOUREY: Okay. 19 SPECIAL AGENT EDWARDS: And then what?
20 MR. KARNATI: It is offering flexible, 20 MR. KARNATI: The service will be
21 flexibility. And most of the -- if you see the 21 terminated.
22 (Inaudible) they are doing second master's so 22 SPECIAL AGENT EDWARDS: Terminated?
23. that -- doesn't come in the picture. So $2,500 23 MR. KARNATI: Yeah.
24 flexible, flexible. Those are the only two factors. 24 SPECIAL AGENT EDWARDS: What's that mean?
25 DETECTIVE GOUREY: $2,500 for a semester? 25 MR, KARNATI: ‘The (Inaudible) mean you have

 

 

 

 

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1 to get into some status or you have to go back.. 1 SPECIAL AGENT EDWARDS: I'm sorry, you
2 SPECIAL AGENT EDWARDS: You have to get 2 would have to get a -- you would have to get a --
3 into some status or go back -- 3 yeah, would you have to get a -- you would have to get
4 MR. KARNATI: Yeah. 4 a different visa. So if you -- if you lose your F-1
5 SPECIAL AGENT EDWARDS: -- to your country? | 5 status, you either have to leave the United States or
6 MR. KARNATI: Country. 6 you have to transfer status. You would have to --
7 SPECIAL AGENT EDWARDS: How do you get back | 7 MR. KARNATI: ‘Transfer your (Inaudible).
8 in status? 8 SPECIAL AGENT EDWARDS: Well, no. You
9 MR. KARNATI: So properly, if you go into 9 would have to get a different -- if you didn't go to
10 any of the (Inaudible) schools and you can go across 10 school, if you came to the United States on an F-1
1i the border and come back. 11 visa and you are not getting -- you're no longer in
12 SPECIAL AGENT EDWARDS: Okay. So as long 12 school, you have to get a different visa, either an
13 as you get back into a school, you can stay here? 13. H-1 visa or you have to do something like that or
14 MR. KARNATI: As long as you get back into |/14 different -- or spouse.
15 a legitimate school. 15 MR. KARNATI: No. Without the visa, then
16 SPECIAL AGENT EDWARDS: Okay. 16 you are fine, sir. If you -- the only thing is if you
17 MR. KARNATI: And you -- you have to cross [17 have a visa for five years, your master's completes in
18 the border and they say that if the school is good, 18 two years, if you get your H-1, you can transfer to
19 then they will activate status. 19 Hl.
20 SPECIAL AGENT EDWARDS: Oh, okay. Does 20 SPECIAL AGENT EDWARDS: Okay. So but you
21 Farmington do that? Does it help -- does it give them | 21 have to transfer to an H-1?
22 status so they can stay? 22 MR. KARNATI:; Wo, the H-1l. H-lisa
23 MR. KARNATI: Again, as you said, for one 23 different -- you have to transfer to the H-i if you
24 or two students whose visas were terminated, 24 get the H-1.
25 Farmington does it. That is one of the other 25 SPECIAL AGENT EDWARDS: Okay.
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1 criteria. 1 MR. KARNATI: Or else can you continue in
2 SPECIAL AGENT EDWARDS: Oh, that's kind of 2 the F-1.
3. cool. They help them out? 3 SPECIAL AGENT EDWARDS: You can continue as
4 MR. KARNATI;: They help them out, They 4 an F-1 even without going to school?
5 (Inaudible) at the border and at the border they say 5 MR. KARNATI: No.
6 it's a good school and they (Inaudible). 6 DETECTIVE GOUREY: That's what we're
7 SPECIAL AGENT EDWARDS: I appreciate you 7 saying. ,
8 explaining this to me because I'm not in this kind of 8 MR, KARNATI: No, you can't. (Inaudible)
9 world. 9 again, it's best of my knowledge.
10 MR. KARNATI: Okay. 10 SPECIAL AGENT EDWARDS: Right.
11 SPECIAL AGENT EDWARDS: I'm the computer li MR. KARNATI: (Inaudible).
12 guy. I do phones and computers. 12 SPECIAL AGENT EDWARDS: Where does your
13 MR. KARNATI: Okay. 13. wife live?
14 SPECIAL AGENT EDWARDS: §0 this is new to 14 MR. KARNATI: She lives with me.
15 me. I appreciate you explaining it to me. So if your | 15 DETECTIVE GOUREY: Lives with you?
16 ¥F-1 status ends, you have to leave and then you can 16 MR. KARNATI: Yeah.
17 come back -- 17 SPECIAL AGENT EDWARDS: What's her status?
18 MR. KARNATI: It's not -- 18 Does she have like an F-1, H-1?
19 SPECIAL AGENT EDWARDS: You can come back? | 19 MR. KARNATI: H-4,
20 MR. KARNATI: Yeah. 20 DETECTIVE GOUREY: From you?
21 SPECIAL AGENT EDWARDS: Or you have to -- 21 MR. KARNATI: Yeah.
22 or you -- you have to go get -- get a visa another 22 SPECIAL AGENT EDWARDS: Okay. Who told you
23° way. Right? 23 about the University of Farmington?
24 NR, KARNATI: No, sir. Visa is a different | 24 MR. KARNATI: Like, I got to know from a
25 «thing. 25 couple of friends and even Santosh told me about

 

 

 

 

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1 campus. These are the only two universities I know. 1 is there. It's not completely -- it's not that I know
2 SPECIAL AGENT EDWARDS: Write them down. 2 that it is a fake university and trying to help the
3 MR. KARNATI: These are the only two 3. students to get in.
4 wniversities that are flexible and -- 4 That is what -- that is what I wanted to
5 DETECTIVE GOUREY: So, what is it, 5 tell you. Not for the profit purposes, the $200, $300
6  Campbellsville? 6 (Inaudible). The bottom line is that is the things I
7 MR. KARNATI: Campbellsville and 7 thought it was flexible and less fee and there is
8 Cumberland. 8 legitimacy. (Inaudible) some classes might be.
9 DETECTIVE GOUREY: Okay. C~-a-m-p-b- -- 9 Other than -- I will honestly tell you that
10 MR, KARNATI: B. Campbell, b-e-l-l-s- 10 because even I'm coming -- whether something is
11 DETECTIVE GOUREY: E like Edward? 11 not legitimate, don't really go to that extent.
12 MR. KARNATI: Hmm. 12 DETECTIVE GOUREY: Okay.
13 DETECTIVE GOUREY: L like Edward. 13 MR. KARNATI: I evaluated it to some extent
14 MR. KARNATI: Campbells, C-a -- Campbells. | 14 and thought there is some -- might be to a thin line
15 DETECTIVE GOUREY: Write it a little neater |15 or a (Inaudible) line of legitimacy, otherwise it
16 for me, okay? 16 wouldn't operate for so long.
17 MR. KARNATI: Sorry. 17 DETECTIVE GOUREY: Right.
18 DETECTIVE GOUREY: Campbellsville? 18 MR. KARNATI: That is all (Inaudible).
19 MR. KARNATI: Yeah, Campbells. A-m. 19 SPECIAL AGENT EDWARDS: So he's been
20 DETECTIVE GOUREY: That's the way you spell |20 warned. He understands the law. If we find out that
21 it? 21 you have lied to us, you understand?
22 MR. KARNATI: Yeah. 22 MR. KARNATI: Yes.
23 DETECTIVE GOUREY: Anything else? 23 SPECIAL AGENT EDWARDS: Okay.
24 SPECIAL AGENT EDWARDS: Not that I can 24 DETECTIVE GOUREY: Okay.
25 think of. 25 MR, KARNATI: That's what it is.
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a: DETECTIVE GOUREY: All right. Let's go 1 DETECTIVE GOUREY: Anything else?
2 ahead and grab your water. You can leave the other Z SPHETAL AGENT BOWARDG:; “Recause weors here
3 water here. We' Ll throw it out for you. 3 to find out. That's what we do. We do
4 SPECIAL AGENT EDWARDS: One last thing, an nin
5 every time at the end of the interview we once again 5 MRi KARHATE:. That's fine.
6 explain to you it's a crime to lie tous. It's a ® SEECTAT-AGENI: EDHAHDSS “Weeds Alot 82
7 five-year felony. You can be in prison for five years | 7 digging and we're going to go through records. We
g for telling a lie. 8 know a lot more than we have told you today.
9 If you have mislead us in any way, this is 9 MR. RBRNATTS Feat
10 the last chance to change any statement. If we find 10 DETECTIVE GOUREY: Okay. Anything else?
11 out later that you lied, you can be charged with a a MRs EARNAEIS: What davthe next Step, B5¢
12 five-year felony that would be on top of any other a DETECTIVE GOURBY?. ‘Next: step, 1s..you re
13 charges that you would get. If you might have made a [7% seing to be — go dn front of the judas: ~“yeu're
14 mistake and you would like to change a statement, now |*4 going te meet with ~~ with -- not necessarily like a
15 is your one time to change your statement and tell the 15 social worker, but like a worker for the court. Okay.
16 truth. If we find out later, you will be charged with | 16 ey'te going to like basically get some information
17 an additional crime. 17 from you. Theyre going to get whether, you know,
18 Is there anything you would like to change? 18 whether or not you can afford an attorney.
19 MR. KARNATT: Just I think I told 19 They're going to figure out whether or not
20 everything what you asked. The only thing is when you |#° Yu ca get different’ — they're:godng to'sak you
21 asked about the fake university, that -~ I don't know 21 about, like, health conditions. Then you're going to
22 that. From the bottom line, I really don't know how 22 see a judge and the judge either is going to assign an
23. they're really operate. I thought it was an excellent 23° attorney or you're going to bring your attorney in.
24  wniversity. I mean, not to the great extent. But I aa My EBRUATI: Olay:
25 thought, at least legitimacy is there, some legitimacy 25 DETECTIVE GOUREY: However you want to do

 

 

 

 

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1 Farmington. 1 Being a third-party, again, in Louisville,
2 SPECIAL AGENT EDWARDS: What's his name? 2 we don't know how it is operating. We see a couple of
3 MR. KARNATI: Santosh. 3. things and we just estimated it is a good university.
4 SPECIAL AGENT EDWARDS: Santosh? 4 Before getting into the University of Louisville, I
5 MR. KARNATI: Yes. 5 almost got into the campus (Inaudible). It's
6 SPECIAL AGENT EDWARDS: How do you spell 6 (Inaudible) getting, it's not once since (Inaudible)
7 that? I think I spelled it wrong. 7 so once studying at the university.
8 MR. KARNATI: §$-a-n-t-o-s-h. 8 SPECIAL AGENT EDWARDS: I've got another
9 SPECIAL AGENT EDWARDS: S-a-n? 9 question for you. When do you graduate with your
10 MR. KARNATI: ‘T-o. 10 master's?
11 SPECIAL AGENT EDWARDS: T-o. 11 MR. KARNATI: When I will get graduated?
12 MR. KARNATI: S-h. 12 SPECIAL AGENT EDWARDS: When will you
13 SPECIAL AGENT EDWARDS: Sorry. I write 13 graduate?
14 real slow too. 14 MR. KARNATI: This year, sir.
15 MR. KARNATI: Yeah. 15 SPECIAL AGENT EDWARDS: This year?
16 SPECIAL AGENT EDWARDS: How did you meet 16 MR. KARNATI: October of 2019.
17. ~Santosh? 17 SPECIAL AGENT EDWARDS: What happens to
18 MR. KARNATI: I mean, I met him once in 18 your status after you graduate?
19 California and being there for a meeting and he was in | 19 MR. KARNATI: ‘That's what I told. My
20 California at that time. I met him, but before that, |20 status is not -- completely different. I'm actually
21 we talked to him. 21 (Inaudible) on I am on H-1.
22 SPECIAL AGENT EDWARDS: In California at a | 22 , DETECTIVE GOUREY: He is on H-l.
23. meeting? 23 SPECIAL AGENT EDWARDS: What's H-1?
24 MR. KARNATI: Yeah. 24 MR. KARNATI: It's a work visa.
25 SPECIAL AGENT EDWARDS: What kind 25 SPECIAL AGENT EDWARDS: Hmm?
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1 of meeting? 1 MR. KARNATI: Work visa, highly skilled
2 MR. KARNATI: No. That meeting is not a 2 work visa.
3 meeting, like meeting in the sense like I went to the 3 DETECTIVE GOUREY: Okay. It's like IT
4 office and I had a -+ I also had a friend over there. 4 and --
5 I just -- I went to meet my friend and Santosh was 5 MR. KARNATI: Yeah,
6 also there and I went and met Santosh. 6 DETECTIVE GOUREY: Stuff like that.
7 SPECIAL AGENT EDWARDS: Okay. Has the iG SPECIAL AGENT EDWARDS: So as long as --
§ university ever -- or Santosh ever told you that what 8 you're allowed -- he is allowed to keep staying here?
9 they were doing was illegal? 9 DETECTIVE GOUREY: His status is tied to
10 MR. KARNATI: No, sir. 10 his work, not --
11 SPECIAL AGENT EDWARDS: He never said that? | 11 MR. KARNATI: Work, my employer will
12 MR, KARNATI: No. Because if it is 12 maintain the status. So I am just to going school,
13 illegal, he will be in -- (Inaudible). 13 paying a fee, and getting the degree.
14 SPECIAL AGENT EDWARDS: All right. 14 DETECTIVE GOUREY; I want you to write down
15 MR. KARNATI: So, again, when the person -- |15 every school that you know of right now where they
16 when the service is done, the person gets admission in |16 have incredibly cheap fees compared to everybody else,
17 Farmington, they are coming back, the service gets 17 where you only have to go to class once a semester.
18 activated and they are coming back. So these are the | 18 MR. KARNATI: Yeah.
19 couple of things that I evaluated, whether it is good | 19 DETECTIVE GOUREY: And where they have
20 or bad. I just -- again, that's -- it's not that the |20 similar situations like University of Farmington where
21 university is completely fake, those things. Fven if |21 you have F-1 students going for master's degree, they
22 you put my name (Inaudible) we don't know unless they | 22 don't have to take English tests to get in. They
23 are ripped off whether they are fake. (Inaudible) 23 don't have to take GRE or GMAT to get in and all these
24 studied and/or lost (Inaudible) no one knows that it 24 situations. So you named a few. You said Cumberland.
25 is a legitimate or fake. 25 MR. KARNATT: Cumberland and Campbellsville

 

 

 

 

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1 it. 1 CERTIFICATE OF NOTARY
2 MR. KARNATI: Sure. 2 STATE OF MICHIGAN )
g DETECTIVE GOUREY: And then from there, you 3 ) ss
4 know, it's kind of going to be up to the judge. Your 4 COUNTY OF WAYNE )
5 attorney can explain further steps in the court 5
6 process. I can't really explain it because it 6 I, RENEE J. OGDEN, certify that the
7 varies -- you know, if you do it this way, you know, 7 foregoing was recorded by me stenographically and
8 do it this way, you do it -- it's all different. 8 reduced to computer transcription; that this is a
9 MR. KARNATI: Oh. 9 true, full and correct transcript of my stenographic
10 DETECTIVE GOUREY: And an attorney is only 10 notes so taken; and that I am not related to, nor of
a1 going -- is going to explain to you the court process 11 counsel to, either party nor interested in the event
12 and the hearing process a lot better than I can 12 of this cause.
13 because I really don't know the way they -- 13
14 MR. KARNATI: I understand. 14
15 DETECTIVE GOUREY: -- are going to know. 15
16 MR. KARNATI: Sure. 16 ke,
17 DETECTIVE GOUREY: So you're going to see a 17
18 judge. You're going to see an attorney, They'll give 18 RENEE J. OGDEN, CSR-3455
19 you some information from there. 19 Notary Public,
20 MR. KARNATI; Okay. Calls out to 20 Wayne County, Michigan
21 (Inaudible). 21 My Commission expires: June 21, 2025
22 DETECTIVE GOUREY: Yeah, yeah. We're going 22
23 to let you make a call. I don't know how soon they're 23
24 going to let you make a call. But definitely they're 24
25 going to notify -- 25
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1 MR. KARNATI: My wife will be (Inaudible).
2 DETECTIVE GOUREY: Yeah. We're definitely
3 going to let you guys make calls and they're
4 definitely going to let you do stuff like that.
5 MR. KARNATI: After attorneys I can leave?
6 DETECTIVE GOUREY: Well, if you -- what's
7 going to happen is your attorney is ~- go ahead. Your
8 attorney is going to tell the judge, that you want to
9 get out of jail, you want a bond. Your attorney is
10 going to tell that. ‘The prosecutor is going to say, .
11 well, we don't know. ‘They're going to argue about it.
12 (Recording concluded.)
13
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